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          EXHIBIT H




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RE: Gaffney BPW Response to April 21, 2023 Demand
Ginny Bozeman <gbozeman@popeflynn.com>
Tue 11/14/2023 5:44 PM
To:Filipp Petkevitch <filipp.petkevitch@buzko.legal >
Cc:Roman Buzko <roman.buzko@buzko.legal > ;Robert Lynch <robert.lynch@buzko.legal > ;Lawrence Flynn
<lflynn@popeflynn.com > ;Taylor Speer (TSpeer@foxrothschild.com) <TSpeer@foxrothschild.com >
Good morning,

Distribution will occur through Blockquarry. Please reach out to Taylor Speer, counsel for Blockquarry, regarding
this. He is copied on this email.

Thanks,




Ginny Bozeman                                        DIRECT: .(803} 354-4947
                                                     CELL: .(901) 299-0667
Senior Counsel
                                                     FAX: .(803) 354-4899


                                                     J?OJ?eflY.!!!!.com I vCard                                 POPE FLYNN
                                                                                                                               GROUP


1411 Gervais St.
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Columbia, SC 29201



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From: Filipp Petkevitch <filipp.petkevitch@buzko.legal>
Sent: Tuesday, November 14, 2023 9:24 AM
To: Ginny Bozeman <gbozeman@popeflynn.com>
Cc: Roman Buzko <roman.buzko@buzko.legal>; Robert Lynch <robert.lynch@buzko.legal>; Lawrence Flynn
<lflynn@popeflynn.com>
Subject: Re: Gaffney BPW Response to April 21, 2023 Demand

Hello, I saw that there is an entry of default entered yesterday. Can you please update us on plans to
distribute BEEQB's equipment?


Best Regards,
Filipp



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